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 4
 5                   IN THE UNITED STATES DISTRICT COURT
 6                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     UNITED STATE OF AMERICA,    )          Case No.: 11-cr-504-WBS
 8                                )
                    Plaintiff,    )         ORDER
 9                                )
     v.                           )
10                                )
     JEWEL HINKLES,               )
11        a.k.a. CYDNEY SANCHEZ   )
                    Defendant.    )
12   _____________________________)
13
14        Having reviewed the parties’ Stipulation to Release Surety,
15   and good cause appearing,
16        IT IS ORDERED:
17        The $150,000.00 collateral bond secured by the real property
18   located at 2231-2233 S. Bronson Avenue, Los Angeles, California
19   90018, by Jarrell D. Davis, in the Central District, Case No.
20   2:11-mj-2866, is released.
21
22   Dated: May 3, 2013
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                                ORDER [PROPOSED]
